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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


RODNEY SHEPHERD,

                     Plaintiff,                   CIVIL ACTION NO: 16-CV-13558

v.

ALLY FINANCIAL, INC.,

                Defendant.
_______________________________ /

                                  ORDER OF DISMISSAL

              The Court having been advised by counsel that the above-entitled action

has been settled, therefore; based upon the representation of plaintiff’s counsel;

       IT IS ORDERED that the above-entitled action be, and the same hereby is,

DISMISSED without costs and without prejudice to the right of either party to move

within sixty (60) days to vacate this Order if settlement is not consummated. After 60

days from this date, this dismissal is with prejudice.



                                           s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


Dated: January 25, 2017


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 25, 2017, by electronic and/or ordinary mail.

                                           s/Shawna C. Burns
                                          Case Manager Generalist and Deputy Clerk
                                          (810) 984-2056
